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                     6
                         Attorney for Debtors
                     7   ANTHONY THOMAS,
                         WENDI THOMAS and
                     8   AT EMERALD, LLC
                     9
                                                          UNITED STATES BANKRUPTCY COURT
                 10
                                                                         DISTRICT OF NEVADA
                 11
                                                                                      —ooOoo—
                 12
                         In Re:                                                           Case No. BK-N-14-50333-BTB
                 13                                                                       Case No. BK-N-14-50331-BTB
                         ANTHONY THOMAS and
                 14      WENDI THOMAS,                                                    Chapter 11 Cases
                 15                                                                       [Jointly Administered]
                         AT EMERALD, LLC,
                 16                                                                       NOTICE OF HEARING ON MOTION
                                                                                          FOR EXTENSION OF DEBTORS’
                 17                                                                       EXCLUSIVE TIME PERIODS TO
                                                                                          FILE AND OBTAIN CONFIRMATION
                 18                           Debtors,                                    OF THEIR PLANS OF
                                                                                          REORGANIZATION
                 19
                 20                                                                       Hearing Date: July 30, 2014
                                                                                          Hearing Time: 10:00 a.m.
                 21      ______________________________/
                 22                NOTICE IS HEREBY GIVEN that on June 2, 2014, Debtors, ANTHONY
                 23      THOMAS, WENDI THOMAS and AT EMERALD, LLC, filed their Motion For Extension
                 24      Of Debtors’ Exclusive Time Periods To File And Obtain Confirmation of Their Plans of
                 25      Reorganization (the “Motion,”) [DE 72] by electronic filing with the United States
                 26      Bankruptcy Court, District of Nevada. The Motion requests a 90-day extension to file plans
                 27      of reorganization, more specifically, from June 2, 2014, to and including August 31, 2014,
                 28      and further that a 90-day extension also be granted for the corresponding exclusive period
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 (775) 786-4579          H:\Thomas\Plan & DS\NOH Mot Ext Excl Period 053014-dlg.wpd
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                     1   for obtaining confirmation of proposed plans of reorganization.
                     2             NOTICE IS FURTHER GIVEN that any opposing memoranda to the Motion must
                     3   be filed pursuant to Fed.R.Bankr.P. 9006(f) for notice provided by electronic transmission
                     4   and Local Rule 9014(d)(1).
                     5             ...[A]ny opposition to a motion must be filed, and service of the opposition
                                   must be completed on the movant, no later than fourteen (14) days preceding
                     6             the hearing date for the motion. The opposition must set forth all relevant
                                   facts and any relevant legal authority. An opposition must be supported by
                     7             affidavits or declarations that conform to the provisions of subsection (c) of
                                   this rule.
                     8
                     9                If you object to the relief requested, you must file a WRITTEN response to this
                                      pleading with the court. You must also serve your written response on the
                 10                   person who sent you this notice.
                 11
                                      If you do not file a written response with the court, or if you do not serve your
                 12                   written response on the person who sent you this notice, then:
                                              •       The court may refuse to allow you to speak at the scheduled
                 13                   hearing; and
                 14                           •       The court may rule against you without formally calling the
                                      matter at the hearing.
                 15
                 16      Copies of the Motion may be obtained by written request from the Law Offices of Alan R.
                 17      Smith at the address above or may be obtained directly from the Bankruptcy Court’s website
                 18      at www.nvb.uscourts.gov (requires the establishment of a PACER account) or from the
                 19      United States Bankruptcy Court Clerk’s Office at 300 Booth Street, Reno, Nevada 89509,
                 20      during the office hours of 9:00 a.m. to 3:30 p.m. weekdays.
                 21                NOTICE IS FURTHER GIVEN that the hearing on the said Motion will be held
                 22      before a United States Bankruptcy Judge, in the Clifton Young Federal Building, 300 Booth
                 23      Street, Bankruptcy Courtroom, Fifth Floor, Reno, Nevada on July 30, 2014, at 10:00 a.m.
                 24                DATED this 2nd day of June, 2014.
                 25                                                                   LAW OFFICES OF ALAN R. SMITH
                 26                                                                   By:       /s/ Holly E. Estes
                                                                                             HOLLY E. ESTES, ESQ.
                 27                                                                          Attorney for Debtors
                 28
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